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                                               THE HONORABLE RICARDO S. MARTINEZ
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 6
                            UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON

 8 ANGELA HOGAN and ANDREA
   SEBERSON, on behalf of themselves and
 9 others similarly situated,                          Case No. 2:21-cv-00996-RSM

10                        Plaintiffs,                 STIPULATED MOTION AND
                                                      ORDER EXTENDING TIME FOR
11        v.                                          RESPONSE AND REPLY BRIEFS
                                                      TO MOTION TO DISMISS
12 AMAZON.COM, INC.,
                                                      NOTED FOR CONSIDERATION:
13                        Defendant.                  AUGUST 25, 2023
14

15

16        The parties, by and through their counsel, stipulate and agree as follows:

17        1.       Plaintiffs filed the Hogan action on July 26, 2021. ECF No. 1.

18        2.       On September 1, 2021, the Court entered an order consolidating Hogan and

19 Seberson. ECF No. 17.

20        3.       On February 2, 2022, Plaintiffs filed their Consolidated Amended Class Action

21 Complaint (“CAC”), in compliance with the Court’s consolidation order. ECF No. 23.

22        4.       Defendant filed a motion to dismiss the CAC on April 4, 2022. ECF No. 26.

23 Plaintiffs responded, and Defendant replied. ECF Nos. 35, 38.

24        5.       On April 20, 2023, the Court granted Defendant’s motion to dismiss with leave

25 to amend. ECF No. 41.

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     STIPULATED MOTION AND ORDER
     SETTING RESPONSE AND REPLY                                    TERRELL MARSHALL LAW GROUP PLLC
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 1         6.      On June 21, 2023, after Defendant agreed to a thirty-day extension of the
 2 deadline for amendment, Plaintiffs filed a Second Amended Complaint (“SAC”). ECF No.

 3 44.

 4         7.      On July 26, 2023, Defendant filed an unopposed motion for extension of time
 5 to respond to the SAC. ECF No. 45. The Court granted Defendant’s motion, and on August

 6 21, 2023, Defendant filed a motion to dismiss the SAC. ECF No. 49.

 7         8       Due to Plaintiffs’ counsel’s prior commitments to other cases, Plaintiffs asked
 8 Defendant to agree to a three-week extension of Plaintiffs’ deadline to respond to the motion

 9 to dismiss, to October 2, 2023. Defendant consented to this request, and Plaintiffs agreed to

10 an extension of the deadline for Defendant to file its reply, to November 3, 2023.

11         9.      The parties agree to the extensions described above, subject to the Court’s
12 approval.

13         STIPULATED TO AND DATED this 29th day of August, 2023.
14

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5                                       * pro hac vice

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                                         ORDER
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2        Pursuant to stipulation, IT IS SO ORDERED.
3        DATED this 29th day of August, 2023.
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6                                               A
                                                RICARDO S. MARTINEZ
7                                               UNITED STATES DISTRICT JUDGE
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